     Case 8:08-cr-00529-DKC     Document 153   Filed 06/10/13   Page 1 of 8



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                      :
QUINITA JESSE ENNIS
                                      :

     v.                               :   Civil Action No. DKC 10-1015
                                          Criminal Case No. DKC 08-0529
                                      :
UNITED STATES OF AMERICA
                                      :

                              MEMORANDUM OPINION

     Presently pending and ready for resolution is a motion to

vacate,   set   aside,   or    correct    sentence    filed     by   Petitioner

Quinita Jesse Ennis.      (ECF No. 114).         The relevant issues have

been briefed and the court now rules pursuant to Local Rule

105.6, no hearing being deemed necessary.             For the reasons that

follow, the motion will be denied.

I.   Background

     Petitioner    was   charged     by   a    ten-count    indictment        with

offenses arising from an armed bank robbery.                    Pursuant to a

written agreement with the government, she pleaded guilty, on

December 29, 2008, to conspiracy to commit armed bank robbery

(18 U.S.C. § 371), armed bank robbery (18 U.S.C. § 2113(a) &

(d)), and making a false statement in connection with a firearm

purchase (18 U.S.C. § 922(a)(6)).              On June 1, 2009, she was

sentenced to a total term of imprisonment of 120 months, to be
      Case 8:08-cr-00529-DKC         Document 153       Filed 06/10/13        Page 2 of 8



followed by a five-year term of supervised release.                                 Petitioner

did not appeal.

        On   April    23,    2010,    the    clerk       received        for       filing     the

pending      motion    to     vacate,       set    aside,        or    correct          sentence

pursuant to 28 U.S.C. § 2255.                    (ECF No. 114).           The government

was directed to respond, and did so on June 8, 2010.                                   (ECF No.

121).

II.   Standard of Review

        To   be    eligible    for    relief       under    28        U.S.C.       §    2255,    a

petitioner must show, by a preponderance of the evidence, that

his     or   her      “sentence       was    imposed        in        violation         of    the

Constitution or laws of the United States, or that the court was

without      jurisdiction       to    impose      such     sentence,          or       that   the

sentence was in excess of the maximum authorized by law[.]”                                     28

U.S.C. § 2255(a).             A pro se movant, such as Petitioner, is

entitled      to     have     her    arguments         reviewed        with        appropriate

consideration.         See Gordon v. Leeke, 574 F.2d 1147, 1151-53 (4th

Cir. 1978).        But if the § 2255 motion, along with the files and

records of the case, “conclusively show[s] that the prisoner is

entitled to no relief,” the claims raised in the motion may be

summarily denied.           See 28 U.S.C. § 2255(b).

III. Analysis

        Petitioner     advances      claims       of   ineffective         assistance           of

counsel based on allegations that her counsel failed to conduct

                                             2
       Case 8:08-cr-00529-DKC          Document 153       Filed 06/10/13    Page 3 of 8



proper       investigation        of     her     background,        provided      incorrect

advice       regarding      application         of     the    sentencing       guidelines,

failed to object to enhancements under the guidelines, failed to

call character witnesses, and failed to devote appropriate time

to   the     case.        She   further        contends      that   her    plea    was    not

knowing, voluntary, and intelligent.

        A.      Ineffective Assistance of Counsel

        Claims of ineffective assistance of counsel are governed by

the familiar standard adopted by the Supreme Court in Strickland

v.     Washington,        466     U.S.     668       (1984).        Under      Strickland,

Petitioner must show both that her attorney’s performance fell

below      an    objective      standard       of    reasonableness        and    that    she

suffered actual prejudice as a result.                       See Strickland, 466 U.S.

at 687.         To demonstrate actual prejudice, Petitioner must show

that there is a “reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have

been different.”          Id. at 694.

        In      scrutinizing      counsel’s          performance,     courts      must     be

highly deferential; indeed, there exists a strong presumption

that counsel’s conduct falls within a wide range of reasonably

professional conduct.              Id. at 688-89; Bunch v. Thompson, 949

F.2d     1354,     1363    (4th    Cir.        1991).        Courts    must      judge    the

reasonableness of attorney conduct “as of the time their actions

occurred, not the conduct’s consequences after the fact.”                                 Frye

                                                3
     Case 8:08-cr-00529-DKC        Document 153      Filed 06/10/13     Page 4 of 8



v.   Lee,    235   F.3d    897,    906   (4th     Cir.   2000).       Furthermore,      a

determination       need    not     be     made     concerning        the   attorney’s

performance if it is clear that no prejudice would have resulted

from the alleged deficiency.             See Strickland, 466 U.S. at 697.

      A     petitioner     who    pleads    guilty       has   an   especially        high

burden in establishing ineffective assistance of counsel.                              As

the Supreme Court recently explained, “[t]he plea process brings

to the criminal justice system a stability and a certainty that

must not be undermined by the prospect of collateral challenges

in cases . . . where witnesses and evidence were not presented

in the first place.”             Premo v. Moore, --- U.S. ----, 131 S.Ct.

733, 745-46 (2011).              Thus, a petitioner alleging ineffective

assistance in the context of a guilty plea has a “substantial

burden . . . to avoid the plea[.]”                Id. at 746.

      That burden has not been met here.                  Petitioner asserts that

her trial counsel failed to investigate her family history and

psychiatric background, but provides no substantiation for her

claim.      In fact, the record reflects that counsel apprised the

court of relevant facts regarding Petitioner’s background in a

sentencing memorandum and at the sentencing hearing.                             It is

unclear what additional facts could have impacted Petitioner’s

sentence, and Petitioner has failed to identify any.                        Similarly,

while Petitioner contends that her counsel gave incorrect advice

concerning application of the sentencing guidelines and failed

                                           4
    Case 8:08-cr-00529-DKC             Document 153       Filed 06/10/13   Page 5 of 8



to object to enhancements, she has not provided any specific

information regarding her counsel’s alleged shortcomings in this

regard.        Absent any allegation as to what advice was incorrect

or why any enhancement was improperly applied, she cannot meet

her heavy burden under Strickland.                     Petitioner also faults her

counsel for failing to call character witnesses, but she has not

volunteered who those witnesses might have been or what they

would    have       contributed.         Moreover,        the    record    reflects      that

members of Petitioner’s family were present at the sentencing

proceeding and her mother was permitted to address the court.

Insofar as Petitioner contends that her counsel failed to devote

sufficient time to the case, her claim is belied by the record.

At the plea colloquy, Petitioner was specifically asked whether

counsel       had     spent    the     time     she    thought      was     necessary     in

consultation         with     her,    and     she   answered     affirmatively,       under

oath.        Even if she had not sworn to the contrary during the plea

colloquy, Petitioner’s bare assertion that her trial counsel did

not spend enough time working on the case could not satisfy

either prong of the Strickland analysis.

        B.     The Guilty Plea

        Petitioner      separately          contends      that   she   was    unaware     or

unadvised        that       sentencing        enhancements        regarding     unrelated

conduct       could     apply,       rendering      her     plea    unknowing.           This

argument,       raised        in     purely    conclusory        fashion,     essentially

                                                5
    Case 8:08-cr-00529-DKC        Document 153            Filed 06/10/13     Page 6 of 8



amounts to an attempt by Petitioner to withdraw her guilty plea

after-the-fact.        The argument is, moreover, undermined by the

record,    which     demonstrates         that      guideline         enhancements         were

spelled-out in the plea agreement and reviewed by the court.

        The procedure by which the court considers and accepts a

defendant’s guilty plea is set forth in Rule 11 of the Federal

Rules    of   Criminal    Procedure.               Pursuant       to    that     rule,      the

defendant may be placed under oath and the court must advise and

question      her,    “personally         in       open    court,”         confirming       her

understanding of the litany of rights waived as a result of

pleading guilty.        Fed.R.Crim.P. 11(b)(1).                  Before accepting the

plea, the court must determine that the plea is “voluntary and

did not result from force, threats, or promises (other than

promises in a plea agreement)” and that “there is a factual

basis for the plea.”         Fed.R.Crim.P. 11(b)(2), (3).

        That procedure was scrupulously followed in this case, and

Petitioner     does    not    argue       otherwise.            Absent       any   credible

evidence      of     innocence,       a        defendant         is     bound      by       the

representations made under oath and may not attack the veracity

of those representations by way of a § 2255 motion.                             See United

States v. Lemaster, 403 F.3d 216, 221-22 (4th Cir. 2005) (“[I]n

the absence of extraordinary circumstances, the truth of sworn

statements     made    during     a   Rule         11     colloquy      is     conclusively

established, and a district court should, without holding an

                                               6
      Case 8:08-cr-00529-DKC      Document 153   Filed 06/10/13    Page 7 of 8



evidentiary hearing, dismiss any § 2255 motion that necessarily

relies on allegations that contradict the sworn statements.”);

United    States    v.   Bowman,    348   F.3d   408,   417     (4th   Cir.   2003)

(conclusory assertions of innocence do not justify withdrawal of

a guilty plea); Fields v. Attorney Gen. of Md., 956 F.2d 1290,

1299 (4th Cir. 1992) (“Absent clear and convincing evidence to

the contrary, a defendant is bound by the representations he

makes    under   oath    during    a   plea   colloquy”).         Petitioner     has

presented no evidence in support of her claim that her plea was

not knowing, voluntary, and intelligent.                  Because the record

conclusively establishes that it was, her post hoc, conclusory

allegation to the contrary cannot prevail.

IV.   Conclusion

        For the foregoing reasons, Petitioner’s motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255 will

be denied.

        Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. §§ 2254 or 2255, the court is also required to

issue or deny a certificate of appealability when it enters a

final    order     adverse   to    the    petitioner.       A     certificate     of

appealability is a “jurisdictional prerequisite” to an appeal

from the court’s order.           United States v. Hadden, 475 F.3d 652,

659 (4th Cir. 2007).         A certificate of appealability may issue

“only if the applicant has made a substantial showing of the

                                          7
    Case 8:08-cr-00529-DKC          Document 153         Filed 06/10/13    Page 8 of 8



denial of a constitutional right.”                        28 U.S.C. § 2253(c)(2).

Where the court denies a petitioner’s motion on its merits, a

prisoner       satisfies       this       standard        by       demonstrating           that

reasonable      jurists    would      find     the      court’s     assessment        of   the

constitutional        claims   debatable           or   wrong.       See    Miller–El        v.

Cockrell, 537 U.S. 322, 336–38 (2003); Slack v. McDaniel, 529

U.S. 473, 484 (2000).           Where a motion is denied on a procedural

ground, a certificate of appealability will not issue unless the

petitioner      can    demonstrate        both     “(1)    that     jurists      of   reason

would find it debatable whether the petition states a valid

claim    of    the    denial   of    a    constitutional          right    and    (2)      that

jurists of reason would find it debatable whether the district

court was correct in its procedural ruling.”                          Rose v. Lee, 252

F.3d 676, 684 (4th Cir. 2001) (internal marks omitted).

        Upon   its    review    of       the   record,       the    court     finds        that

Petitioner does not satisfy the above standard.                           Accordingly, it

will decline to issue a certificate of appealability.

        A separate order will follow.



                                                   ________/s/_________________
                                                   DEBORAH K. CHASANOW
                                                   United States District Judge




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